Case 3:17-cr-00116-LRH-WGC Document 24-2 Filed 11/01/18 Page 1 of 3




                         EXHIBIT 2
  NOTICE OF HEARING IN REMOVAL
                    PROCEEDINGS
                     MAY 20′ 1998
                                                                            一
                                                                            ．︲
                                                                       プ

                                                                             メ
                                    ■寿
                  Case 3:17-cr-00116-LRH-WGC Document 24-2 Filed 11/01/18 Page 2 of 3
                                              ̲ノ・




                                                                       ヽ︑
11■   ・




                  ■IΨ 電s靱ツ鯰:i雖       0「
                                                                                 卜、
                                                                                   ヽ




      RE:    PATO}IAR-SANTIAGO,., NETUUiO
      FILE: A92-27L-22O ' i          "1   ,
                                                        DATE:   May 20, 1998

      TO:              CARLOS MARTINE2‑COuoH, ESQ.
                       10505 HAWTHORNE BLVD
                       LENNOX, CA 90304



                                                            菅よ
                                                             輩
                          notice that the above captioned
                           hearing before the ltmigration
                                at

                       45100 N. 60TH ST.. WEST
                       LANCASTER, CA 9353 6

            Y6tt may be represented in these proceedings,l at no expense to the
      c。 ヾernment, by an attorney or other individual who is authoriZed and qualified
      to represent persons before an lmmigration CouFt. lour hearing date has      ■Ot
      heen scheduled earlier than 10 days fro■ the date of serv■ ce of the NotiCe To
      Appear ih order to permit you the opp61tunity to obtain an attorney or
      representetiVe. If yOu wish to be represented, 'our attOrney or repreSenta,iVe
      ■■tst appeer With yott at the heari■ g prepared to procee4. Yott can request an
      ごさ         aring in 'ritittg。
        =lier hё
            Failure to appeer at your hearュng except for exceptional oircunstances
      may res■ lt in one or more of the following actions:
            1)you may be tale, ■ntO custody by the lmmigration and Naturalization
      Serv■ ce and held for further action。
          12)Your hearing ttay be held in y6ur absence‐ undeF Section 240(b)(5)of the
      lmmigration and Nationality Acto An Order of removal will be entered against
      you■if the lmmigretion a    NaturalizatiOn service established by clear,
      unequivocal and Oonvincing evidence that a)you or your attorney has been
      lrOVided tllis ,Otice and b)y9u are rё movable。
      IF YOUR ADDRESS IS NOT LISTED ON THE NOTICE TO APPEAR, OR IF IT IS NOT CORRECT,
      WITHIN FIVE DAYS OF THIS NOTICE YOU MUST PROVIDE TO THE IMMIGRAT10N COURT
      LOS ANGEL口 S, CA THE ATTACHED FORM EOIR‑33 WITH YOUR ADDRESS AND/OR
      TELEPHONE NUHBER AT WHICH YOU CAN BE CONTACTED RECARDING THESE PROCEEDINCS.
      EVERYTIME YOU CHANGE YOUR ADDRESS AND/OR TELEPHONE NUMBtR3 YoU ttvST INFORM THE
      COURT OF YOUR NEW ADDRESS AND/OR TELEPHONE NUMBER WITHIN 5 DAYS OF THE CHANCE
      ON THE ATTACHED FORM EOIR‑33. ADDlT10NAL FORMS E01R‑33 CAN BE OBTAINED FROM
      THE COURT WHERE YOU ARE SCHEDULED TO APPEAR. IN THE EVENT YOU ARE UNABLE TO
      OBTAIN A FORM EOIRT33, YOI MAY PROVIDE THE COURT IN WRITINO wITH YOUR NEW
      ADDRESS AND/OR TELEPHONE NUMBER BUT YOU DfUST CLEARLY MARК TIIE ENVELOPE ・'CHANCE
      OF ADDRESS。    CORRESPONDENCE FROM THE COURTっ INCLUDING HEARINC NOTICES, WILL BE
      SENT TO THE MOST REむ ENT ADDRЁ SS YOU ttAVЁ PROVIDEDo AND WILL BE CONSI,ERED
      SUFFICIENT NOTICE TO YOU AND THESE PROCEEDINCS CAN GO FORWARD IN YOUR ABSENCE.
       .・
          ・ヽ
           :A List of Free Legal Service PrOViders has been giVen to yott. F9r
      in10rmation regarding the status of your case, call toll free 17800… 898‑7180
      0R 703‑305二 1662.
      L」
             Case92‑271…
   Alien Number:  3:17-cr-00116-LRH-WGC Document 24-2 Filed 11/01/18 Page 3 of 3
                          220                  Alien Nane: PALOMAR― SANTIAGO, REFUG10
                     LIMITAT10NS oN DISCRET10NARY RELIEF FOR FAlLUR軍
                                                                                         督o   APPEAR


  P i‐ l:::lel:抵
                                 「
                                      i]基l:l鰭 ilii:lt]:i]Ii::l:li]l:li:::1載 i:書 l]:i::::i:☆
                                     iti in youF being
                 :￨,,11l resttュ                            〔。und ineligible fOr certain fOralsiOf
                        「II:::::[:::]無::rl:1911:;d,営
                   l::l:昇
                                                                   :[:° 1:tliFti:tdl::eole:lll〕               :i the
                   Final:Order OF removal。             、
   ()1 1lI慶                                                                 1    ,
                       露        lti:軍
                                        糧 計 :f電 。密 c:I彙 織  :監 覚  電
                                                                   g,ttitte tine md Place
                   other than becattse Qf exceptiё nal c■ rcumstal:ё
                           =蹴in your being fOund ineligiltle for :P::;inf°
                   Will result                                                」。lli:。
                                                                     certain fOrms Of 1:]:11警
                                                                                       relief
        under the lmigratiOn and Nationality Act (see SeCtion A. Below〕
                                                                               fOr a
                               at:1よ                                 h:lI誕
  ()3.露   [ilttfb:=』 盤 ぷ             躍 r湾 :::L:[I鑑
        pttrsuant tO settiOn 2403 of the I■                       :鑑        :。
                                             migratiOn and Nationelity Actt arld
        remaining in the united states beyontl the al■     =:驚 date Other than
                                                        thOrized
        becauseiof ettceptiOnal circumstances beyOnd yottr cOlltrol■
        in your beinど ineligible fOr cё rtain fOrコ                   ' will resttlt
                                                    B Of rdlieF under the
        lmmigratiOn and Natlonality.Act (see Section A: B010w)fOr ten‐


            1轟 1灘電i駆茸整革奄晏
                                                                                                              (10)


        .
                        酢機孵重
                           鮮
                 United states within ■e tine periOd specifì
                                                                                                                          i




  11'i4.=:rf:yi:f::蹴
   '…   appear pttrsuant tO
                            塩   越「  S:nttL$載
                         疑a final order of re摯 L:=nQt"reIf th紬
                                                  :°
                                                                 $50oO.l i
                                                           you fail tO          yo■
                                                                                     ・
                                                                        oval ]:]lli,::]:::111:lil:::.                 :
            i:    ordё red by the INS, other than beё ause of exく
                                          r:鳳
            11    ::I:::者 lI::::lξ
                                                lgr:せ il:l:11°
                                                                 i:tiOili::;]含 :: 1:::d::::i:: ::pgari :
                 ・・ the term "exceptional circumstattces" Fefers t。
                  as seriOus illness Of the alie■ Or death Of an im■こircumstaiceo such
                                                                     lediate relative
                                                             tg lettS COmpellinξ cirこ umtttances.
                                                             )R WH=cH YOU wILL BiCOME iINELICIBLE ARE:
                                                             :ed fOr in sectiOn 240B of the
                                                             tCtF                  I

                                                             cI:dildi?r in s7cti,1に
                                                                                     21011Pi
                                                                                                       電  :




                                             :￨:in ll:lia11。 1:::tleic[:r in sectiOn
        ThiS written l191111 Was:FF6vlded。 」  「 EIど :IIな I‐ 1lV[:』 iltthiじ ヽ
the contents bF thi三                        こ                              6ral notice OF
                                      ibe.=iVen tO the:alien    in his/herr盤 native
             ハユ ̀ぃ ̲ ■ 聖,ct場 キ
         ●.
l nholl●agittyli3■
                                                        :駄
:::ま                391ぬ
                         gu五           L:こ
                                        ジ ■
                                            IIIailsÌ」     :じ Ini亀
                                                                                :::   難誕∬
ImigratiOn」 udg6:
                                              or court clerk:
                                            CATE OF SERVIcE
TIIIS DOCuMttNT             SE3VED BY:     MAIL (M)
TO:
                                           CustOdial
DATE:                                と
                                   JENBỲ° COURT                                                       [呵 4s
                            I    J rorn-ss [ ]E0                                rViCeS Littt           [ ]Other
                                ̀先
                                                                                                                 V6




                                                                                         ニ
